         Case 2:20-cv-00901-LMA-DMD Document 32 Filed 07/14/20 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


LATOYA CARNEY, ET AL.                                                  CIVIL ACTION

VERSUS                                                                      No. 20-901

NEW ORLEANS CITY, ET AL.                                                    SECTION I

                                        JUDGMENT

          Considering the record, the Court’s order1 granting the motion to dismiss

brought pursuant to Federal Rule of Civil Procedure 12(b)(6), and the law, for the

reasons assigned,

          IT IS ORDERED that the federal law claims of plaintiffs Latoya Carney and

Byron Wilson, Sr. (collectively, “plaintiffs”) against defendants City of New Orleans,

Shaun Ferguson in his individual and official capacities, and Stephen Nguyen in his

individual and official capacities (collectively, “defendants”) are DISMISSED

WITH PREJUDICE and that final judgment is entered in favor of defendants.

          IT IS FURTHER ORDERED that plaintiffs’ state law claims against

the      City   of    New    Orleans,   Shaun   Ferguson,   and   Stephen   Nguyen are

DISMISSED WITHOUT PREJUDICE to their being timely asserted in state

court.

           New Orleans, Louisiana, July 14, 2020.



                                            _______________________________________
                                                     LANCE M. AFRICK
                                            UNITED STATES DISTRICT JUDGE



1
    R. Doc. No. 28.
